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                                  CERTIFICATE OF SERVICE

         I, Justin J. Lannoye, an attorney, hereby certify that I will cause to be served a copy of this
First Amended Complaint, via electronic filing on the parties listed below who are eligible to receive
e-filing and by having copies mailed to the parties not eligible for e-filing on August 11, 2008 by
first class delivery, with proper postage prepaid.




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